8:02-cr-00353-BCB-SMB      Doc # 667      Filed: 07/09/08    Page 1 of 1 - Page ID # 3796




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )               CASE NO. 8:02CR353
                                            )
            Plaintiff,                      )
                                            )
            vs.                             )                    ORDER
                                            )
ROY C. STRAUGHAN,                           )
                                            )
            Defendant.                      )

      This matter is before the Court on the Defendant’s motion to appoint counsel (Filing

No. 659).

      Counsel has been appointed. (Filing No. 658.)

      IT IS ORDERED:

      1.    The Defendant’s motion to appoint counsel (Filing No. 659) is denied as

            moot; and

      2.    The Clerk is directed to mail a copy of this order to the Defendant at his last

            known address.

      DATED this 9th day of July, 2008.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge
